 Exhibit 4
Civil Action No. 1:25-cv-00498
            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA


 INCLUSIV, INC.,

                     Plaintiff,
                                                  Civil Action No.
   v.                                             1:25-cv-00948

 UNITED STATES ENVIRONMENTAL
 PROTECTION AGENCY, et al.,

                    Defendants.


                   DECLARATION OF GREG HANSHAW

   I, Greg Hanshaw, pursuant to 28 U.S.C. § 1746, do hereby state and declare

   as follows:

   A. Background

   1. I am President & CEO for Community 1st Credit Union (Community

1st). My business address is 1100 Hutchinson Ave, Ottumwa, Iowa 52501.

   2. I am competent to testify concerning matters in this declaration. In my

role at Community 1st, I am responsible for overseeing the day-to-day opera-

tions and ensuring the credit union’s continued vitality and success, including

the planning and implementation of all programs, policies, and procedures. I

am also responsible to provide strategic and/or administrative direction and

management in all credit union functions including: accounting, ALM, busi-

ness development, compliance, facility management, finance, human re-

sources, investments, lending, marketing, operations, retail services, risk man-

agement, and security.
   3. Additionally, as President & CEO, I am responsible to develop, recom-

mend, and implement financial policies and procedure, as well as for ensuring

that the credit union follows the federal laws and regulations set forth by the

National Credit Union Administration and other State and Federal regulatory

agencies.

   4. I have been with the credit union for more than 13 years, and have

served in the CEO role for more than 9 years. Prior to coming to the credit

union, I was a Human Resources professional serving as the Director of HR for

a large manufacturer for 15 years.

   B. Community 1st’s History and Background

   1. Community 1st is dedicated to improving the lives of our more than

70,000 members by serving as their trusted financial partner.

   2. Community 1st is deeply rooted in communities across Iowa and Mis-

souri, serving a population in which 46% of households earn less than $35,000

annually, 19% live below the poverty line, and 20% receive public assistance.

   3. Community 1st is a certified Community Development Financial Insti-

tution (CDFI) that specializes in providing financial products that meet the

needs of underserved, low-income, and unbanked households.

   4. Community 1st has a successful track record of creating specialized pro-

grams that make a real difference in the financial lives of our members, includ-

ing those in the most vulnerable communities. Examples include our Payday

Alternative Loans and First-Time Home Buyers’ Down Payment Assistance.




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   5. Community 1st takes a comprehensive approach to serving our mem-

bers, which includes financial coaching, education programs, and collabora-

tions with local partners in clean energy. This approach ensures that members

receive the support they need as they pursue clean energy options.

   C. Community 1st’s CCIA Grant Application Process

   6. Community 1st has been a member of Inclusiv’s network of community

development credit unions since 2016.

   7. Community 1st first learned about Inclusiv’s Clean Communities In-

vestment Accelerator (CCIA) grant in Fall 2024. Soon after, Community 1st

decided to apply for a CCIA grant from Inclusiv.

   8. Following Inclusiv’s written guidance, Community 1st started its appli-

cation process by submitting a prequalification form. Inclusiv informed Com-

munity 1st that it was pre-qualified for a grant in December, 2024.

   9. Because Community 1st pre-qualified for a CCIA grant from Inclusiv, it

was automatically eligible to attend the University of New Hampshire’s Solar

and Green Lending Training and Technical Assistance Program, which is cur-

rently being attended by our VP of Consumer Lending.

   10. Over the months that followed, Community 1st put together its formal

grant application for Inclusiv. The application process took approximately 4

weeks to complete, and Community 1st submitted its application on January

17, 2025.

   11. On February 18, 2025 Community 1st learned that Inclusiv had

awarded it an $5.5 million CCIA grant.


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   D. Community 1st’s Plans for CCIA Grant Funds

   12. Community 1st will use CCIA grant funds to design, launch, and sup-

port a comprehensive clean energy lending program. This program will be tai-

lored specifically for low-income and disadvantaged communities.

   13. The program will offer competitive loan rates, reasonable terms, mini-

mal fees, and simplified qualification criteria for members investing in clean

energy solutions.

   14. With the funding, members will gain access to affordable financing for

energy-efficient appliances, heat pumps, solar panels, electric vehicles, and

other clean energy products that would otherwise be financially unattainable.

   15. As a result, the grant funding will have a transformative impact on the

communities that Community 1st serves by breaking down barriers to clean

energy adoption, which will allow members to reduce energy costs while con-

tributing to environmental sustainability.



   I declare under penalty of perjury that the foregoing is true and correct.

   Dated: March 31, 2025



                                              __/s/ Greg Hanshaw_

                                              Greg Hanshaw

                                              Ottumwa, Iowa




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